         Case 1:21-cr-00064-CKK Document 55 Filed 02/09/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                       )
                                                )
       v.                                       )     No. 21-064 (CKK)
                                                )
TOMMY ALLAN,                                    )
                                                )
                       Defendant.               )
                                                )

              UNOPPOSED MOTION TO DELAY SELF-SURRENDER DATE

       Defendant, Tommy Allan, through counsel, respectfully requests that the Court order

that that his current self-surrender date of April 3, 2023, be delayed until no sooner than April

30, 2023. Below are the reasons in support:

       (1) Mr. Allan appeared for sentencing on December 8, 2022, where a sentence of 21

            months’ incarceration was imposed followed by 36 months of supervised release.

       (2) The Court also allowed Mr. Allan to voluntarily self-surrender to serve his sentence

            and further ordered that it not be before March 30, 2023 based on an anticipated

            surgery date of January 26, 2023.




       (3) Unfortunately, Mr. Allan’s surgery was postponed until March 9, 2023, based on the
           Case 1:21-cr-00064-CKK Document 55 Filed 02/09/23 Page 2 of 3




              fact that he tested positive for COVID-19 prior to his surgery on January 23, 2023. 1




          (4) Mr. Allan has been notified of his responsibility to report to MDC Los Angeles on

              April 3, 2023, to serve his 21 months’ incarceration.

          (5) Given the recommended recovery time after his newly scheduled surgery date of

              March 9, 2023, Mr. Allan respectfully requests a brief delay of his currently

              scheduled self-surrender date until April 30, 2023. This brief delay will ensure that

              Mr. Allan does not serve his time before he is fully recovered. This is also important

              given the fact that he has been designated to a pre-trial detention BOP facility in

              downtown LA and not a medical facility.

          (6) Mr. Allan does not pose a risk of flight and has been compliant with his voluntary

              surrender requirements.

          (7) Undersigned counsel discussed this with United States Probation and counsel for the

              government and both parties do not oppose this request.




1
 It is standard practice to test individuals for COVID-19 prior to medical procedures. Counsel provided a copy of
his test results to probation.
         Case 1:21-cr-00064-CKK Document 55 Filed 02/09/23 Page 3 of 3




                                     Conclusion

       For these reasons, Mr. Allan respectfully requests that the Court grant this motion to

delay the date he must self-surrender to serve his sentence no sooner than April 30, 2023.



                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                      /s/

                                              Maria N. Jacob
                                              D.C. Bar No. 1031486
                                              Assistant Federal Public Defender
                                              625 Indiana Avenue, N.W., Suite 550
                                              Washington, D.C. 20004
                                              (202) 208-7500
                                              Maria_Jacob@fd.org
